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        United States Court of Appeals
             for the Fifth Circuit
                            _____________
                                                                  United States Court of Appeals
                                                                           Fifth Circuit
                              No. 24-50627
                            _____________                                FILED
                                                                     April 22, 2025
Space Exploration Technologies Corporation,                         Lyle W. Cayce
                                                                         Clerk
                                                          Plaintiff—Appellee,

                                   versus

National Labor Relations Board; Jennifer Abruzzo, in
her official capacity as the General Counsel of the National Labor Relations
Board; Marvin E. Kaplan, in his official capacity as the Chairman of the
National Labor Relations Board; Marvin E. Kaplan, in his official
capacity as Board Member of the National Labor Relations Board; Gwynne
A. Wilcox, in her official capacity as Board Member of the National Labor
Relations Board; David M. Prouty, in his official capacity as Board
Member of the National Labor Relations Board; John Doe, Administrative
Law Judge NLRB,

                                                      Defendants—Appellants,


                         consolidated with
                           _____________

                               24-40533
                            _____________

Energy Transfer, L.P.; La Grange Acquisition, L.P.,

                                                         Plaintiffs—Appellees,

                                   versus
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National Labor Relations Board; Jennifer Abruzzo, in
her official capacity as the General Counsel of the National Labor Relations
Board; Marvin E. Kaplan, in his official capacity as the Chairman of the
National Labor Relations Board; Marvin E. Kaplan, in his official
capacity as Board Member of the National Labor Relations Board; Gwynne
A. Wilcox, in their official capacities as Board Members of the National
Labor Relations Board; David M. Prouty, in their official capacities as
Board Members of the National Labor Relations Board; John Doe, in their
official capacity as an Administrative Law Judge of the National Labor
Relations Board,

                                                      Defendants—Appellants,

                         consolidated with
                           _____________

                               24-10855
                            _____________

Aunt Bertha, doing business as Findhelp,

                                                          Plaintiff—Appellee,

                                   versus

National Labor Relations Board, a federal
administrative agency; Jennifer Abruzzo, in her official
capacity as the General Counsel of the National Labor Relations Board;
Marvin E. Kaplan, in his official capacity as the General Counsel of the
National Labor Relations Board; Marvin E. Kaplan; Gwynne A.
Wilcox; David M. Prouty, in their official capacities as Board
Members of the National Labor Relations Board; John Doe, in their official
capacity as an Administrative Law Judge of the National Labor Relations
Board,

                                       Defendants—Appellants.
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                   Appeals from the United States District Courts
            for the Western, Southern, and Northern Districts of Texas
                      USDC Nos. 6:24-CV-203, 3:24-CV-198,
                                   4:24-CV-798
                    ______________________________

Before Wiener, Willett, and Duncan, Circuit Judges.
Per Curiam: 1*
        Before us are motions by Aunt Bertha d/b/a FindHelp, Space
Exploration Technologies Corporation, and Energy Transfer, L.P. to
construe their various responses to the Office and Professional Employees
International Union’s motion to intervene as motions for reconsideration.
Those requests are GRANTED, and we now consider whether to vacate the
order permitting OPEIU’s intervention in the case.
        On October 1, 2024, the OPEIU moved to intervene in this suit
against FindHelp. FindHelp opposed the motion, and it was denied.
Litigation proceeded, and on January 28, 2025, OPEIU emailed FindHelp
and stated it “disclaim[ed] interest in representing the [FindHelp]
bargaining unit . . . effective immediately.”
        On February 3, 2024—two days before argument in the consolidated
case—counsel for the National Labor Relations Board sent a letter informing
us of his intent to only address the “lack of subject-matter jurisdiction by
effect of the Norris-LaGuardia Act, lack of causal harm, lack of irreparable
harm, and balancing of the equities” at oral argument and not “the Board-
member-removability arguments raised in the government’s briefs.”



        _____________________
        *
          Because Judge Wiener concludes that the Government’s assertions raised in their
February and March letters to the court (and attachments therein) equate to the withdrawal
of its arguments on Board-member and ALJ removability, he would deny the motions for
reconsideration and permit OPEIU’s intervention.




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                           c/w Nos. 24-10855, 24-40533

       Two days later—hours before oral argument began—the OPEIU
filed a renewed motion to intervene. The OPEIU cited “changed
circumstances” caused by the Board’s refusal to address the Board-Member-
removability issue at argument. The Clerk’s Office granted the motion. No
OPEIU counsel presented oral argument before us that afternoon.
       On February 18 and 19—almost two weeks after oral argument—
Employer-Appellees filed responses in opposition to OPEIU’s motion.
Appellees were “surprise[d]” to learn that the motion had been granted, and
they moved that their response motions be considered motions for
reconsideration. Additionally, on March 5, we received another letter from
counsel for the NLRB explaining that it “no longer rel[ies] on its previous
argument that the statutory tenure protections for Board members are
constitutional” or “on its previous argument that the multiple layers of
removal restrictions for ALJs” are constitutional. We now consider
Appellees’ arguments.
       It is well established that “[t]here is no appellate rule allowing
intervention generally.” Richardson v. Flores, 979 F.3d 1102, 1104 (5th Cir.
2020). Instead, we permit intervention only in “truly exceptional cases.” Id.
Phrased differently, “[a] court of appeals may, but only in an exceptional case
for imperative reasons, permit intervention where none was sought in the
district court.” McKenna v. Pan Am. Petroleum Corp., 303 F.2d 778, 779 (5th
Cir. 1962) (internal citation omitted).
       Appellees argue that the OPEIU cannot show that its intervention is
justified. We agree.
       We have granted intervention where the intervenors “assert a
significant stake in the matter on appeal, where it is evident that their interest
cannot adequately be represented by [the parties],” and where the “lack of
timely intervention below may be justified” by the district court’s failure to




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provide notice. United States v. Bursey, 515 F.2d 1228, 1238 n.24 (5th Cir.
1975); see Richardson, 979 F.3d at 1105. When a party seeks intervention at
the appellate level simply because it has “a unique view offered by neither
party,” it should express that interest as an amicus, not an intervenor.
Richardson, 979 F.3d at 1106.
       The elements favoring intervention are not present here. First, the
OPEIU disclaimed its interest in January when it sent a letter to FindHelp
saying as much. Second, it filed an amicus brief earlier in the appeal process
expressing its views, months before oral argument. The OPEIU is correct
that the Board refused to argue the Board-Member-removability issue. But
the Board did not withdraw its argument; it merely rested on its briefing,
which affirmatively argued the constitutionality of the removability
provisions. And the OPEIU already addressed the Board-Member-
removability issue in its amicus brief. Third, there is no evidence that the
OPEIU attempted to intervene at the district court level; while it filed an
amicus brief in the district court, it did not move to intervene until the Board
filed its appeal. These reasons counsel against granting the OPEIU’s motion
to intervene, despite its interest in the outcome of the litigation.
       Finally, the practicalities of the moment weigh against the OPEIU.
The case has been fully briefed and argued, and the OPEIU did not appear
at oral argument despite the grant of its motion earlier that afternoon. The
OPEIU’s arguments have received due consideration in the form of its
amicus brief, and the Government’s refusal to argue the Board-Member-
removability and ALJ-removability issues does not diminish the reality that
it pressed the issues in its brief.
       IT IS ORDERED that the motions for reconsideration are
GRANTED.




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     IT IS ALSO ORDERED that the order granting the motion to
intervene is VACATED.




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